 Case 8:16-cv-01266-JLS-KES Document 77 Filed 09/26/18 Page 1 of 2 Page ID #:775



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                     UNITED STATES DISTRICT COURT
 8                  CENTRAL DISTRICT OF CALIFORNIA
 9   ROSA CALDERON; AND,                    Case No.: SACV16-1266 JLS (KESx)
10   JAVIER CALDERON,
     INDIVIDUALLY AND ON
11   BEHALF OF ALL OTHERS                   JUDGMENT
     SIMILARLY SITUATED,
12               Plaintiffs,                HON. JOSEPHINE L. STATON
13                      v.
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     THE WOLF FIRM, A LAW
15   CORPORATION,
16                Defendant.
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     Case 8:16-cv-01266-JLS-KES Document 77 Filed 09/26/18 Page 2 of 2 Page ID #:776




           Settlement Class Representatives ROSA CALDERON; and, JAVIER
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      CALDERON (“Plaintiffs”) allege that Defendant THE WOLF FIRM, A LAW
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      CORPORATION (“Wolf Firm”) violated the Fair Debt Collection Practices Act;
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      and, Rosenthal Fair Debt Collection Practices Act in the Wolf Firm’s initial written
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      communication with consumers. The Parties entered into a Settlement Agreement
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      which was finally approved as follows:
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         1. The consumers who submitted a claim shall receive $15.66 each;
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         2. Plaintiffs shall each receive $750.00 as an incentive award;
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         3. The Claims Administrator shall receive $5,800 for costs of settlement
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10          administration;

11       4. Class counsel shall receive $55,641.76 in attorneys’ fees and $773.00 in costs.

12          In exchange, all class members’ claims shall be dismissed with prejudice in

13    accordance with Article 7 of the Parties’ Settlement Agreement.

14          IT IS SO ORDERED that the Clerk is directed to enter a judgment of

15    dismissal with prejudice.

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17    Date: September 26, 2018                 _________________________________

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                                               HONORABLE JOSEPHINE L. STATON
19                                              UNITED STATES DISTRICT COURT JUDGE
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